       Case 1:21-cv-02265-APM Document 181 Filed 01/27/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al.

                     Plaintiffs,

v.                                              Civil Case No. 1:21-cv-02265-APM

DONALD J. TRUMP, et al.

                     Defendants.


                                   NOTICE OF APPEAL

       Defendant Donald J. Trump hereby gives notice of his appeal to the United

States Court of Appeals for the D.C. Circuit from this Court’s Memorandum Opinion

and Order entered on January 26, 2023 (DCD No. 179), denying, in part, his motion

to dismiss, particularly as to this Court’s denial of President Trump’s assertion of the

defense of absolute immunity.

Dated: January 27, 2023                        Respectfully submitted,

                                               /s/ Jesse R. Binnall
                                               Jesse R. Binnall (VA022)
                                               The Binnall Law Group, PLLC
                                               717 King Street, Suite 200
                                               Alexandria, Virginia 22314
                                               Tel: (703) 888-1943
                                               Fax: (703) 888-1930
                                               Email: jesse@binnall.com
                                               Attorney for Donald J. Trump
                                               Donald J. Trump for President, Inc.,
                                               and Make America Great Again PAC




                                           1
       Case 1:21-cv-02265-APM Document 181 Filed 01/27/23 Page 2 of 2




                           CERTIFICATE OF SERVICE

      I certify that on January 27, 2023, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.


                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall
                                              Attorney for Donald J. Trump
                                              Donald J. Trump for President, Inc.,
                                              and Make America Great Again PAC




                                          2
